 

Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 1 of 17°

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL

PROTECTION BUREAU,
Plaintiff .
3:17-CV-101
V. : (Judge Mariani) —

Special Master Thomas I. Vanaskie
NAVIENT CORPORATION, et al:
Defendants.
SPECIAL MASTER REPORT #4: SETH FROTMAN’S MOTION TO
QUASH SUBPOENA, TO STAY DEPOSITION, AND IN THE
- ALTERNATIVE FOR PROTECTIVE ORDER
I. INTRODUCTION
This matter comes before me as Special Master pursuant to the Referral
Order dated January 31, 2019. (Doc. 202). The current t discovery dispute concerns
_a Motion to Quash Defendants subpoena of a third-party, Seth Frotman (“Mr.
Frotman”’), who served as Plaintiff's Student Loan Ombudsman before his
retirement on September 1, 2018. Mr. Frotman argues that (1) based on the strong
presumption against deposing former high-level government officials, Defendants
cannot demonstrate that his testimony is essential and necessary to obtain

information unavailable elsewhere and (2) that the proposed deposition covers

1 .

 
Case 3:17-cv-00101-RDM Document 270: Filed 04/16/19 Page 2 of 17

 

information protected by the work product doctrine as well as the deliberative-
process, law-enforcement, and attorney-client privileges. (Mem. in Supp. of Mot.
to Quash (Doc. 128) at 2-3.)

In opposition to the Motion to Quash, Defendants argue that Mr. Frotman
has relevant testimony and although some information they seek may be
privileged, this is not a complete bar to his deposition. (Defendants’ Br. in Opp.
Mot. to Quash (Doc. 143) at 1-2.) Defendants further argue that Mr. Frotman
cannot assert Plaintiff's privileges and Plaintiff Consumer Financial Protection
Bureau (the “Bureau”) has not sought to block Mr. Frotman’s deposition. /d. at 2.

By way of its own response, the Bureau requests that Defendants be
precluded from deposing Mr. Frotman on matters that are protected by the
attorney-client privilege or that are irrelevant to any issue in the case. (Plaintiff's
Response to Mot. to Quash (Doc. 138) at 1.) |

Following submission of written briefs, I held oral argument on March 29,
2019. For the following reasons, I conclude that Mr. Frotman’s deposition may
proceed within the following parameters: (1) inquiries concerning the Bureau’s
internal policymaking and deliberations on student-loan servicing are irrelevant;
(2) inquiries regarding Mr. Frotman’s interpretation of regulations or other public
guidance issued by the Bureau or the Department of Education (“ED”) are

irrelevant; and (3) the Bureau may interpose on a question-by-question basis any

 
Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 3 of 17

objection on grounds of privilege or work product protection. Accordingly, the
motion to quash the subpoena will be denied, but the motion for a protective order
will be granted in part.
II. BACKGROUND

The Bureau, an independent agency of the United States charged with
regulating the offering and provision of consumer financial products and services
under Federal consumer financial laws, brought this suit against Navient
Corporation and two of its subsidiaries, Navient Solutions, Inc. and Pioneer Credit
Recovery, Inc. Defendant Navient Corporation is a Delaware loan management,
servicing, and asset recovery corporation. Defendant Navient Solutions, Inc., a
wholly-owned subsidiary of Navient Corporation and formerly known as Sallie
Mae, Inc., services federal and private student loans for more than 12 million
borrowers. Defendant Pioneer Credit Recovery, Inc., an indirect wholly-owned
subsidiary of Navient Corporation, is a debt collector that has collected defaulted
federal student loan debt on behalf of ED and several state-based loan guaranty
agencies. The Bureau’s 11-count Complaint asserts claims against Defendants
under the Consumer Financial Protection Act of 2010, 12 U.S.C. §§ 5531, 5536(a),
5564, 5565, the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq., and the Fair

Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692 et seq., for alleged

unlawful acts and practices in connection with Defendants’ servicing and

 

 
 

Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 ~ Page 4 of 17

~ collection of student loans. The Bureau requests, among other things, injunctive
‘relief, restitution to harmed student borrowers, disgorgement of “ill-gotten

revenue,” and monetary penalties, (Doc. 1 at 65-66.) Defendants have denied the
claims and asserted several affirmative defenses, including the defense that
Defendants’ conduct complied with ED regulations as well as their contracts with
ED, so that they lacked “fair notice of what conduct the CFPB would later assert in |
this lawsuit are ‘unfair’, ‘deceptive’, ot ‘abusive’ acts or practices.” (Doc. 61 at
29.)

On October 6, 2018, Defendants served a deposition subpoena on Mr.
Frotman, the Bureau’s former Student Loan Ombudsman, calling for his deposition
to be taken on October 24, 2018. Attached as Exhibit A to the subpoena was the
following list of topics that Defendants intended to cover at his deposition:

1. Your knowledge of, participation in, and
Communications related to the Investigation and the
Servicing Practices alleged in the Complaint.

2. Your knowledge of, participation in, and

Communications related to the [Bureau’s] decisions,
action, and/or statements.in connection with the Action.

3. Your communications and interactions with Third
Parties, including the U.S. Department of Education and
any other federal agencies, any State Attorney General,
any members or staff of the U.S. Congress, consumer
advocacy organizations, any employee, agent, or officer
of the [Bureau], and/or the media, relating to the .
Investigation or Action.

 

 
Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 5 of 17

4. Your knowledge of the factual basis of the
allegations in the Complaint.

5. Your public statements during the Relevant Time
Period relating to the Investigation or this Action.

6. Your knowledge of and involvement in
Communications between the [Bureau] and the U.S.
Department of Education relating to proposed and final
rules, regulations, and guidance the [Bureau] or
Department of Education considered or issued relating to
Servicing Practices or Communications relating to the
Federal Loan Rehabilitation Program that are the subject
of the allegations in the [Bureau’s] Complaint filed in
this Action.

7. The circumstances of your resignation from the
[Bureau].
8. The steps you have taken to prepare to answer

questions on the foregoing topics.
(Ex. A to Defendants’ Br. in Opp. to Mot. to Quash, Doc. 143-1.)

Following service of the subpoena there ensued an exchange of
communications between Mr. Frotman’s attorney and Defendants, with Defendants
agreeing to re-schedule the deposition. Unable to agree upon the scope of the
deposition, Defendants served a new subpoena on November 1, 2018, scheduling
the deposition for December 5, 2018, two days before the then-scheduled close of
fact discovery. (Ex. E to Defendants’ Br. in Opp. to Mot. to Quash, Doc. 143-1.)

Defendants later agreed to Mr. Frotman’s request to conduct the deposition on

December 14, 2018. On December 4, 2018, Mr. Frotman moved to quash the

 
 

Case 3:17-cv-00101-RDM Document.270 Filed 04/16/19 Page 6 of 17

subpoena, stay the deposition, and in the alternative for a protective order. (Doc.
123.) By Order dated December 10, 201 8, Judge Mariani stayed the deposition
pending a decision on the motion. to quash. (Doc. 13 1.)

- Until his retirement from the Bureau on September 1, 2018, Mr. Frotman
was charged with overseeing consumer protection in the nation’s student loan
market, chaired the-cross-Bureau policymaking body focused on student loans, and -
led the staff of the Bureau’s Office for Students and Young Consumers.
Appointed by the Secretary of the Treasury, Mr. Frotman was the principal liaison
between the Bureau and ED on student loan matters. |

Mr. Frotman was heavily involved policy development within the Bureau.
From March 2015 through January 2017, Mr. Frotman led the internal policy
process in response to President Obama’s 2015 directive to study the effects of
student debt, address industry. abuses, and strengthen borrower protections.
Further, Mr. Frotman directed the development of a major 201 5 report making
specific recommendations on student loan servicing practices and conducted an
internal deliberative process to evaluate rulemaking options. Mr. Frotman did not
have authority over the initiation, investigation, or litigation of enforcement
actions, including that of Defendants: Instead, Mr. Frotman acted as a subject-
matter éxpert for enforcement attorneys. He did, however, hold a press conference

on the day this action was filed.

 
 

Case 3:17-cv-00101-RDM: Document 270 Filed 04/16/19 Page 7 of 17

| By letter dated August 27, 2018, Mr. Frotman informed the Bureau’s Acting
Director that he was resigning as the Bureau’s Student Loan Ombudsman effective
September 1, 2018. In his letter, Mr. Frotman wrote:

In my time at the Bureau I have traveled across the country,
meeting with consumers in over three dozen states, and with
military families from over 100 military units. I have met with
dozens of state law enforcement officials and, more importantly, I
have heard directly from tens of thousands of individual student
loan borrowers.

A common thread ties these experiences together — the American
Dream under siege, told through the heart wrenching stories of
individuals caught in a system rigged to favor the most powerful
financial interests. For seven years, the Consumer Financial

_ Protection Bureau fought to ensure these families received a fair
‘shake as they as they strived for the American Dream.

Sadly, the damage you have done to the Bureau betrays these
families and sacrifices the financial futures of millions of
Americans in communities across the country.
For these reasons, I resign effective September 1, 2018. Although I
will no longer be Student Loan Ombudsman, I remain committed to
fighting on behalf of borrowers who are trapped in a broken student
loan system.
(Ex. J to Defendants’ Brief in Opp. to Mot. to Quash, Doc. 143-1.)
~ In seeking to avoid being deposed, Mr. Frotman argues that, based on his
role as a former high-level federal agency official, Defendants cannot demonstrate
the exceptional circumstances necessary to overcome the strong presumption that

he is immune from depositions concerning information acquired in the course of

his official duties. (Mem. in Supp. of Mot. to Quash Subpoena (Doc. 128) at 8.)

7
Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 8 of 17

 

Mr. Frotman further argues that Defendants cannot show that the relevance of the
information they seek outweighs the burden imposed on him to be deposed. Jd. at
13. Finally, Mr. Frotman contends that most of the information covered in the
proposed deposition is protected by the work-product doctrine and the Bureau’s
deliberative-process, law-enforcement, and attorney-client privileges. Jd. at 15.

On December 17, 2018, the Bureau filed its response to the Motion to
Quash. (Doc. 138.) The Bureau argues that information regarding Mr. Frotman’s —
participation in and knowledge of the Bureau’s investigation of and action against
Defendants (covered by Topics 1 through 4 of the list of topics accompanying the
initial subpoena) is protected under the attorney work product doctrine. Jd. at 2.
The Bureau notes that it has already provided Defendants with a complete response
regarding the basis of the allegations in the Complaint from a designee who
furnished hours of testimony. Jd. at 4. The Bureau contends that questions
regarding Mr. Frotman’s interpretation of any regulation or other public guidance
issued by the Bureau or ED should be prohibited as irrelevant. Jd. at 5. The
Bureau further contends that Defendants should not be permitted to ask questions

‘that would require Mr. Frotman to disclose the substance of the Bureau’s internal

deliberations that did not include ED. /d. at 8. The Bureau also argues that

Defendants should be prohibited from asking questions about Mr. Frotman’s

 
Case 3:17-cv-00101-RDM> Document 270 Filed 04/16/19 Page 9 of 17

resignation from the Bureau because the relevant time period runs through January
18, 2017, and his resignation has no bearing on this case. Jd. at 9.

In opposition to the Motion to Quash, Defendants argue that Mr. Frotman’s ©
testimony is highly relevant to-the claims and defenses in this case. (Br. in Opp. to
Mot. to Quash (Doc. 143) at 1). Defendants elaborated:

First, in his “unique” (Frotman Mem. at 11) role as Student Loan
Ombudsman, Mr. Frotman had extensive knowledge of student
loan borrower complaints, which he reviewed and analyzed as part
of his statutory responsibility. Those complaints, and Mr.
Frotman’s analysis of them, bear on core issues in this case,
including:.(1) whether and to what extent any student loan
borrowers complained of being “steered” into forbearance by
Navient; (2) whether and how borrowers were informed about
_{income dependent repayment (IDR) options] by Navient or ED;
and (3) the reasons why many borrowers may fail to apply for IDR
despite efforts to inform them about the program....

‘Second, Mr. Frotman likely played a critical part in communications
with ED about federal policy relating to IDR and forbearance. The
Court has already held that “[g]iven Defendants’ relationship with
[ED] this type of communication [between Plaintiff and ED] may be
relevant to their defenses. ...

Third, Mr. Frotman has made many public statements regarding
student loan policy and likely had many interactions with third parties
about issues faced by borrowers. Those communications also are
clearly relevant to potential Navient defenses. For example, Mr.
Frotman made public comments about an ED policy memo setting
forth standards for how servicers communicate with borrowers about
IDR, which Mr. Frotman publicly characterized as new policy
“guidance.” Defendants are entitled to question Mr. Frotman about
those statements in order to explore their defense that Navient’s
conduct conformed to the government’s previous guidance.
Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 10 of 17

(Ud. at 6, 1-8.) Defendants further argue that the fact that questioning may touch on
. issues protected by privilege is no categorical bar to proceeding with the
deposition. (/d. at 1.) Defendants also contend that Mr. Frotman does not have
standing to assert the Bureau’s privileges and the Bureau has not moved to quash
the subpoena. (/d.) |
Ill. DISCUSSION

Federal Rule of Civil Procedure 26(b)(1) states in part that “[p]arties may |
obtain discovery regarding any nonprivileged matter that is relevant to any party’s
claim or defense... .” Fed. R. Civ. P. 26(b)(1). Depositions of parties and non-
parties are valuable and efficient tools in the discovery process. However, there
exists a balance between the need for broad discovery and the need to protect
certain information. Accordingly, a subpoena may be quashed if it (i) fails to
allow a reasonable time to comply; (ii) requires a person to comply beyond the
geographical limits of Rule 45(c); (iii) requires disclosure of privileged or
protected matter, if no exception or waiver applies; or (iv) subjects a person to
undue burden. Fed. R. Civ. P. 45(d)(3). The issues raised in this case concern
privilege and undue burden.

A. MR. FROTMAN’S POSITION AS THE BUREAU’S FORMER
STUDENT LOAN OMBUDSMAN

10
Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 11 of 17

In order to protect the “integrity of the administrative process,” the United
States Supreme Court has cautioned against deposing top federal officials in the
absence of exceptional circumstances. United States v. Morgan, 313 US. 409, 422
(1941). The five-prong inquiry to determine whether exceptional circumstances
exist is done on a case-by-case basis and has been applied to both current and
former high-ranking government officials. United States v. Sensient Colors, Inc.,
649 F.Supp.2d 309, 322 (D.N.J. 2009). For the deposition of a high-level federal
official to be permitted, the party seeking the deposition must show that “(1) the
official’s testimony is necessary to obtain relevant information that is not available
from another source; (2) the official has first-hand information that cannot
reasonably be obtained from other sources; (3) the testimony is essential to the case
at hand; (4) the deposition would not significantly interfere with the ability of the
official to perform his government duties; and (5) the evidence sought is not |
available through less burdensome means or alternative sources.” Jd. As
explained in United States v. Wal-Mart Stores, Inc., No. CIV.A. PJM-01-1521,
2002 WL 562301, at *3 (D. Md. Mar. 29, 2002):

The courts will require the high-ranking official submit to
deposition in litigation not specifically directed at his conduct if: 1)
extraordinary circumstances are shown; or 2) the official is
personally involved in a material way. The courts are cognizant of |
the fact that high-ranking officials will be privy to a wide range of
information due solely to their positions. However, there comes a

point when their involvement becomes less supervisory and
directory and more hands-on and personal, that it is considered so

11

 
 

Case 3:17-cv-00101-RDM _Document 270 Filed 04/16/19 Page 12 of 17

intertwined with the issues in controversy that fundamental fairness
requires the discovery of factual information held by the official by
way of deposition. ...

Assuming that Mr. Frotman previously occupied a sufficiently high level
position in the federal government and that the protection suggested by the
Supreme Court in Morgan extends to former government officials, Defendants
have shown the requisite extraordinary circumstances and Mr. Frotman’s personal

involvement in the matters at issue here so as to warrant that he be deposed. Mr.
Frotman served as the Bureau’s Student Loan Ombudsman until his resignation.

- The Student Loan Ombudsman is only one of two political appointees within the
Bureau and is the only position in the Bureau appointed directly by a member of
the cabinet, the Secretary of the Treasury He thus stands in a unique position.
As Mr. Frotman himself has noted, “Congress gave the Ombudsman the power,
unique within the Bureau, to publicly issue his or her own reports, and to make
independent recommendations, to the Secretary of Treasury, the Secretary of
Education, and the relevant committees in Congress.” (Mem. in Supp. of Mot. to
Quash (Doc. 128) at 11; emphasis added.) His staff consisted of only a handful of

members, indicating that he had hands on involvement in the matters for which he

was responsible (Tr. of March 29, 2019 Oral Argument at 39, 57.) He was the

 

| The only other political appointee is the Bureau’s Director, a presidential
appointee.

12
Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 13 of 17

principal liaison with ED on student loan matters, dealing directly with his
counterpart political appointees at ED. (Ud. at 49.) He appears to have played a
critical role in the preparation of ED’s “new set of repayment rights for borrowers”
in the summer of 2016. (/d. at 55.) He was responsible for reviewing and

_ analyzing thousands of complaints from student loan borrowers and preparing
public reports about issues faced by borrowers, including issues related to the
government’s IDR programs. He also communicated with the Department of
Education regarding contractual and regulatory requirements for federal student
loan servicers like Defendants. Thus, Mr. Frotman has potentially relevant, first-
hand knowledge of key issues in this case.

Defendants seek information regarding (1) whether and to what extent any
student loan borrowers complained of being “steered” into forbearance by
Defendants, (2) whether and how borrowers were informed about IDR by
Defendants or ED, and (3) the reasons why many borrowers may fail to apply for
IDR despite efforts to inform them about the program. Mr. Frotman’s role in
reviewing and analyzing student borrower complaints and his communications
with ED about federal policy relating to IDR and forbearance are thus significant.

Based on the Court’s previous ruling that “[g]iven Defendants’ relationship
with [ED], this type of communication [between Plaintiff and ED] may be relevant

to their defenses,” I find that Mr. Frotman is not immune from deposition given the

13

 
     
   
   
   
   
   
   
   
   
   
   
   
   
   
   
 
   
     
     
  
   
       

Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 14 of 17

first-hand knowledge of potentially relevant topics that he alone can provide.
However, as decided by Judge Mariani, inquiries concerning the Bureau’s
policymaking and deliberations on student-loan servicing “have no legal
significance” and “are simply not relevant to Defendants’ defenses.” (May 4, 2018
Memorandum Opinion (Doc. 88) at 10.) Further, Mr. Frotman’s interpretation of
any regulation or other public guidance issued by the Bureau or ED is irrelevant.
One former official’s interpretation cannot adequately represent the Bureau’s
interpretation or position as to those regulations or guidance.

Therefore, with these categories of questions excluded, I find that Mr.
Frotman’s deposition is not barred based on his previous role as the Bureau’s
Student Loan Ombudsman.? Accordingly, the Bureau may make objections on a
question-by-question basis to assert any applicable privilege, and the ordinary
standards of relevance under Federal Rule of Civil Procedure 26 still apply, but the

deposition of Mr. Frotman may proceed.?

 

* Given his unique position and substantial knowledge, I find that any
burden imposed on Mr. Frotman to appear for a deposition is not “undue.”
Furthermore, because he is no longer employed by the federal government, there is
no concern that important government functions will be disrupted by having him
deposed.

 
 

3 Mr. Frotman initially relied upon the Bureau’s “Touhy regulations” as
erecting a barrier to his deposition. See Brief in Supp. of Mot. to Quash (Doc. 128)
at 17. During the oral argument, counsel for both Mr. Frotman and the Bureau |
receded from this position. (Tr. of March 29, 2019 Argument at 59-62, 67.)

14

 
Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 15 of 17

B. WORK PRODUCT DOCTRINE AND DELIBERATIVE-PROCESS,
LAW-ENFORCEMENT, AND ATTORNEY-CLIENT PRIVILEGES

The work product doctrine, deliberative-process, law-enforcement, and
attorney-client privileges are still available to the Bureau in response to any
questions asked by Defendants to Mr. Frotman. Further, these protections belong
to the Bureau, not to individual officials, and must be asserted by the Bureau itself.
The Bureau argues that Topics | through 4 seek information about Mr. Frotman’s
knowledge of and participation in the Bureau’s investigation of and action against
Defendants and that this information is protected under the attorney work product
doctrine. (Doc. 138 at 2.) I agree that Mr. Frotman’s knowledge of the Bureau’s
investigation into Defendants is generally protected, and Defendants should avoid
questions seeking this protected information during the deposition. But the |
existence of these privileges is not a complete bar to Mr. Frotman’s deposition.
See New York v. Nat'l R.R. Passenger Corp., No. 04-CV-962 DNH/RF T, 2007 WL
4377721, at *3 (N.D.N.Y. Dec. 12, 2007). The Bureau “intends to make privilege
objections to questions about its communications with the Department of
Education on a question-by-question basis,” and this is the appropriate method for
asserting these protections rather than barring the deposition in its entirety. (Doc.

138 at 8.)%

 

4 The parties have suggested that I preside over any deposition of Mr.
Frotman to rule contemporaneously on objections to questions posed by

15

 
 

Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 16 of 17

IV. CONCLUSION
Mr. Frotman’s Motion to Quash Subpoena will be denied, but his motion for

a protective order will be granted to the extent that Mr. Frotman’s deposition may
proceed within the following guidelines: (1) inquiries concerning the Bureau’s
policymaking and deliberations on student-loan servicing are irrelevant; (2)
inquiries regarding Mr. Frotman’s interpretation of any regulation or other public
- guidance issued by the Bureau or ED is irrelevant; (3) inquiries regarding Mr.
Frotman’s participation in and knowledge of the Bureau’s investigation of and

action against Defendants will not be allowed: and (4) the Bureau may assert any
_ appropriate privilege or make any appropriate objection on a question-by-question
basis during the deposition. | |

| Vv. ORDER
"IT IS ORDERED THAT:

1, Mr. Frotman’s Motion to Quash Subpoena is hereby
denied.

2. Mr. Frotman’s alternative Motion for a Protective Order
is granted as follows:
(a) the Bureau’s policymaking and: deliberations on
student-loan servicing are irrelevant;

 

Defendants, and I am willing to do so. (See Tr. of March 29, 2019 oral argument
at 1- 76, 80.)

16

 

 
Case 3:17-cv-00101-RDM Document 270 Filed 04/16/19 Page 17 of 17

(b) Mr. Frotman’s interpretation of regulations or other
public guidance issued by the Bureau or ED are
irrelevant, and .

(c) Mr. Frotman may not be questioned about his
participation in and knowledge of the Bureau’s
investigation of and action against Defendants.

3. The Bureau may assert any appropriate privilege or make
any appropriate objection on a question-by-question basis.

4. Objections to this Report and Order must be submitted no
later than twenty-one (21) days after service of this Report and
Order.

DATE: April 16, 2019 | s/ Thomas J. Vanaskie
THOMAS I. VANASKIE
SPECIAL MASTER

 
